         Case 3:16-cr-02509-L             Document 61              Filed 12/19/16           PageID.131          Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                 FILED
                                                                                                                  DEC 1 9 2016
                                   United States District Court                                             CLERK US DI STRUCT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA                                  SOUTHERN DIS          CALIFORNIA
                                                                                                         BY                       DEPUTY
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                         V.                                          (For Offenses Committed On or After November 1, 1987)
                 JESSICA CUEVAS (1)
                                                                        Case Number:         16cr2509-L

                                                                     Marc Xavier Carlos
                                                                     Defendant’s Attorney
REGISTRATION NO.                 58040298

□-
THE DEFENDANT:
IEI pleaded guilty to count(s)      ONE (1) OF THE INFORMATION

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                   Nature of Offense                                                                  Number(s)
8:1324(a)(l)(A)(ii),(v)(II)       TRANSPORTATION OF CERTAIN ALIENS FOR FINANCIAL                                        1
and (a)(l)(B)(i)                  GAIN AND AIDING AND ABETTING




     The defendant is sentenced as provided in pages 2 through    ___           2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is           dismissed on the motion of the United States.

      Assessment: $100 - WAIVED



IEI No fine                □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                     December 19.2016
                                                                     Date of Imposition of Sented£e


                                                                     HON/M. JAME&LORENZ'/
                                                                     UNITED STATES DISMUCT JUDGE



                                                                                                                           16cr2509-L
        Case 3:16-cr-02509-L          Document 61         Filed 12/19/16       PageID.132        Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                JESSICA CUEVAS (1)                                                       Judgment - Page 2 of 2
CASE NUMBER:              16cr2509-L

                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant shall surrender to the United States Marshal for this district:
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

 l_j   The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       □     on or before
       □    as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                            16cr2509-L
